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 8                             UNITED STATES DISTRICT COURT
 9                            SOUTHERN DISTRICT OF CALIFORNIA
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11     Ms. L.; et al.,                                      Case No.: 18cv0428 DMS (MDD)
12                            Petitioners-Plaintiffs,
                                                            ORDER SETTING FURTHER
13     v.                                                   STATUS CONFERENCE
14     U.S Immigration and Customs
       Enforcement (“ICE”); et al.,
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                         Respondents-Defendants.
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18           A status conference was held on March 7, 2019. After consulting with counsel and
19     being advised of the status of the case, IT IS HEREBY ORDERED:
20     1.    Counsel shall continue to meet and confer on the issue of a central database for future
21     separations of parents and children.
22     2.    Counsel shall continue to meet and confer on the parents separated from children
23     after June 26, 2018.
24     3.    Counsel shall continue to meet and confer on the children whose parents have
25     submitted preferences but are still detained.
26     4.    The next Joint Status Report shall be filed on or before 3:00 p.m. PST on March
27     27, 2019.
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 1     5.    A further status conference shall be held on March 28, 2019, at 1:00 p.m. PST. The
 2     dial-in number for any counsel who wish to listen in only and members of the news media
 3     is as follows.
 4           1.       Dial the toll free number: 877-411-9748;
 5           2.       Enter the Access Code: 6246317 (Participants will be put on hold until the
 6                    Court activates the conference call);
 7           3.       Enter the Participant Security Code 03280428 and Press # (The security code
 8                    will be confirmed);
 9           4.       Once the Security Code is confirmed, participants will be prompted to Press
10                    1 to join the conference or Press 2 to re-enter the Security Code.
11     Members of the general public may attend in person. All persons dialing in to the
12     conference are reminded that Civil Local Rule 83.7(c) prohibits any recording of court
13     proceedings.
14     6.    Counsel for the Ms. L. Class shall provide notice of this order to counsel for
15     Plaintiffs in any of the related cases that wish to appear.
16      Dated: March 8, 2019
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